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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                             LAFAYETTE DIVISION

STEVEN J. LANDIS and                      )
JACQUELINE E. LANDIS,                     )
                                          )
                    Plaintiff             )
                                          )
                   v.                     )       No. 4:18-cv-00034
                                          )
HAMSTRA-WIERS, LLC d/b/a                  )
WIERS CHEVROLET-GMC,                      )       JURY DEMANDED
                                          )
                    Defendant.            )
                                          )

                          COMPLAINT FOR DAMAGES

      Plaintiffs, STEVEN J. LANDIS and JACQUELINE E. LANDIS, by counsel,

complains of Defendant, HAMSTRA-WIERS, LLC d/b/a Wiers Chevrolet-GMC, as

follows:

                                 INTRODUCTION

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter

referred to as the “ADA”).

      2.     This matter arises out serious personal injuries sustained by Plaintiff

when he slipped and fell at Wiers Chevrolet-GMC in DeMotte, Indiana. Defendant

is liable for Plaintiff’s injuries under Title III of the American with the Disabilities

Act (“ADA”) and state law.

                                      PARTIES

      3.     Plaintiff, STEVEN J. LANDIS (“Mr. Landis”) is a citizen of the United


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States and a citizen of the State of Indiana.

      4.     Mr. Landis is a qualified individual under the ADA. Plaintiff has had

multiple back surgeries and a hip replacement.

      5.     Mr. Landis’ disability, at all times material hereto, impairs his ability

to walk, a major life activity, and requires him to often use a cane to ambulate.

      6.     Plaintiff, JACQUELINE E. LANDIS (“Mrs. Landis”) is a citizen of the

United States and a citizen of the State of Indiana. Mrs. Landis is Mr. Landis’ legal

spouse.

      7.     Defendant, HAMSTRA-WIERS, LLC d/b/a WIERS Chevrolet-GMC

(“Wiers,” the “Dealership”) is a domestic limited liability company. The Dealership

is located at 416 South Halleck Street, DeMotte, Jasper County, Indiana 46310.

                             JURISDICTION AND VENUE

      8.     Jurisdiction is conferred on this Court by 28 U.S.C. §§ 1331 and 1367.

      9.     Venue is proper, under 28 U.S.C. § 1391, as Mr. Landis’ injury

occurred in this District.

                              FACTUAL ALLEGATIONS

      10.    On November 7, 2017, at approximately 9:30 a.m., Mr. Landis visited

the Dealership and parked in the handicapped accessible parking space north of the

entrance.

      11.    After concluding his business inside the Dealership, Mr. Landis came

out of the building to return to his vehicle.

      12.    When Mr. Landis stepped off the sidewalk, he tripped on the curb to



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the driver’s side of his vehicle which was obstructed by bushes.

       13.    The fall caused serious and permanent injuries to Mr. Landis’ right

(dominant) arm.

                          COUNT I: (STEVEN J. LANDIS)
                              ADA VIOLATION

       14.    Plaintiff, STEVEN J. LANDIS repeats and realleges paragraphs 1-12

as though fully recited herein.

       15.    The Dealership is open to the public and provides goods and services to

the public.

       16.    On November 7, 2017, Mr. Landis visited the Dealership and

attempted to utilize the facilities offered at the Property.

       17.    While at the property, Mr. Landis experienced serious difficulty

accessing the goods and utilizing the services therein due to the architectural

barriers discussed herein.

       18.    Mr. Landis continues to desire to visit the Dealership, but fears that he

will continue to experience serious difficulty due to the barriers discussed herein,

which still exist.

       19.    Defendant is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. §

36.302 et seq. and is discriminating against the Plaintiff, Mr. Landis, due to

Defendant’s failure to provide and/or correct the following barriers to access which

were personally observed, encountered and which hindered Plaintiff’s access:

              a.     Inaccessible parking designated as accessible throughout the
                     Dealership due to lack of proper access aisles;



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              b.     Failure to maintain a clear width of thirty-six (36) inches on the
                     walking surfaces in front of the entrance;

              c.     Inaccessible routes from the parking to the sidewalks at various
                     locations throughout the Dealership due to curb cuts with
                     excessive slopes and excessive side flare slopes, as well as gaps
                     in pavement, unprotected edges and large bumps in the concrete
                     that do not provide a smooth transition; and

              d.     Inaccessible routes throughout the Dealership due to a lack of
                     curb access points.

       20.    Defendant either does not have a policy to assist people with

disabilities or refuses to enforce such a policy if it does exist.

       21.    Removal of the barriers to access located on the Property is readily

achievable, reasonably feasible and easily accomplishable without placing an undue

burden on Defendant.

       22.    Removal of the barriers to access located on the Property would allow

Plaintiff, Mr. Landis, to fully utilize the goods and services located therein.

       23.    Mr. Landis has been obligated to retain undersigned counsel for the

filing and prosecution of this action. Plaintiff is entitled to have his reasonable

attorneys’ fees, costs, and expenses paid by Defendant.

       WHEREFORE, Plaintiff, STEVEN J. LANDIS, demands judgment against

Defendant and requests the following injunctive and declaratory relief that:

       A.     The Court declare that the Property owned, leased, leased to and/or
              operated by Defendant is in violation of the ADA;

       B.     The Court enter an Order directing Defendant to alter its facilities to
              make them accessible to and useable by individuals with disabilities to
              the full extent required by Title III of the ADA;

       C.     The Court enter an Order directing Defendant to evaluate and


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             neutralize its policies and procedures towards persons with disabilities
             for such reasonable time so as to allow Defendant to undertake and
             complete corrective procedures;

      D.     The Court award reasonable attorneys’ fees, costs (including expert
             fees), and other expenses of suit, to the Plaintiff; and

      E.     The Court awards such other and further relief as it deems necessary,
             just and proper.

                       COUNT II: (STEVEN J. LANDIS)
                     NEGLIGENCE (PREMISES LIABILITY)


      24.    Plaintiff, STEVEN J. LANDIS repeats and realleges paragraphs 1-12

as though fully recited herein.

      25.    At the above, time and place, Defendant owed a duty to Plaintiff to

exercise ordinary care to maintain its premises in a reasonably safe condition.

      26.    Contrary to and in violation of said duty, Defendant was negligent and

careless in the maintenance of its premises as follows:

             a.      Failure to maintain a clear width of thirty-six (36) inches on the
                     walking surfaces in front of the entrance; and

             b.      Maintained inaccessible routes from the parking to the
                     sidewalks where Plaintiff fell;

             c.      Failed to maintain proper access aisles adjacent to so-called
                     “accessible parking” spaces; and

             d.      Was otherwise careless and/or negligent.

      27.    As a proximate result of the negligent acts or omissions of Defendant,

Plaintiff, on the above date and time, fell and suffered severe and permanent

personal injuries.

      28.    As a further proximate result of said injuries, Plaintiff has incurred


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pain and suffering, disability, and expenses for medical care.

      WHEREFORE, Plaintiff, STEVEN J. LANDIS, demand judgment against

Defendant, HAMSTRA-WIERS, LLC d/b/a WIERS Chevrolet-GMC, as is reasonable

in the premises of this complaint together with costs and disbursements herein.

                    COUNT III: (JACQUELINE E. LANDIS)
                         LOSS OF CONSORTIUM

      29.    Plaintiff, JACQUELINE E. LANDIS repeats and realleges paragraphs

24-28 as though fully recited herein.

      30.    By reason of Defendant’s negligence, Plaintiff, JACQUELINE E.

LANDIS’ husband has been severely and permanently injured, was and is limited

for several months, and Mrs. Landis was obliged to incur expenses for medical and

surgical care, hospital bills, medicine, nursing, and other care for her husband, in

attempts to effect rehabilitation and a cure for him.

      31.    Mrs. Landis has further, in consequence, been deprived of the society,

companionship, and services of her husband, and her comfort and happiness have

been impaired, all to her damage.

      WHEREFORE, Plaintiff, JACQUELINE E. LANDIS, demands judgment

against Defendant, HAMSTRA-WIERS, LLC d/b/a Wiers Chevrolet-GMC as is

reasonable in the premises of this complaint together with costs and disbursements

herein.




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                                               Respectfully submitted,

                                               STEVEN J. LANDIS and
                                               JACQUELINE E. LANDIS



                                                /s/ Trent A. McCain
                                                Plaintiffs’ Attorney

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                                  JURY DEMAND

       Pursuant to FED. R. CIV. P. 38, Plaintiffs demand trial by jury in this action of

on all issue triable.

                                               Respectfully submitted,

                                               STEVEN J. LANDIS and
                                               JACQUELINE E. LANDIS



                                                /s/ Trent A. McCain
                                                Plaintiffs’ Attorney

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